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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

DIONNE BOYD, as Administrator of the
Estate of Dorie M. Boyd, deceased,
                                                                      No. 20 CV 8935-LTS-SLC
                                   Plaintiff,

                 -against-                                            ORDER OF DISMISSAL

MOUNT SINAI ST. LUKES HOSPITAL,
et al.,

                                    Defendants.
-------------------------------------------------------x

                 The parties have stipulated to dismissal of, and the Court has dismissed, plaintiff’s

claims against each of the six named defendants in this action. (See Docket Entry Nos. 31, 38, 39,

41, 42.) Accordingly, the Clerk of Court is respectfully directed to terminate all pending motions

and to close the case.

        SO ORDERED.

Dated: New York, New York
       January 11, 2021


                                                                       /s/ Laura Taylor Swain
                                                                       LAURA TAYLOR SWAIN
                                                                       United States District Judge




BOYD - DISMISSAL ORD.DOCX                                  VERSION JANUARY 11, 2021                   1
